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                                                   EXHIBIT A

                      Participant                                       Counsel / Advisors

  1.   The Roman Catholic Church of the             Jones Walker LLP; Blank Rome LLP; Keegan Linscott &
       Archdiocese of New Orleans                   Associates PC

  2.   Apostolates (including Saint Joseph Abbey    Heller, Draper, Patrick, Horn, & Manthey LLC
       and Seminary College)

  3.   Official Committee of Unsecured Creditors    Locke Lord LLP; Pachulski Stang Ziehl & Jones LLP;
                                                    Berkeley Research Group LLP

  4.   Official Committee of Unsecured              Stewart Robbins Brown & Altazan, LLC
       Commercial Creditors

  5.   Catholic Mutual Relief Society               ArentFox Schiff LLP

  6.   United States Fire Insurance Company and     O’Melveny & Myers LLP
       International Insurance Company

  7.   Certain Abuse Survivors                      Herman, Herman & Katz; Richard C. Trahant; Shearman
                                                    Denenea, L.L.C.

  8.   Argent Institutional Trust Company           Greenberg Traurig, LLP

  9.   Hancock Whitney Bank                         Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux
                                                    L.L.C.

  10. Fidelity & Guaranty Insurance                 Dentons US LLP
      Underwriters, Inc.

  11. Second Harvest Food Bank of Greater New       Baker Donelson Bearman Caldwell & Berkowitz PC
      Orleans and Acadiana

  12. First State Insurance Company and Twin        Ruggeri Parks Weinberg LLP
      City Fire Insurance Company (Hartford)

  13. SPARTA Insurance Company                      Sidley Austin LLP; Liskow & Lewis

  14. Counsel for Individual Survivors              Robinson Law Offices LLC

                                                    Ardoin McKowen & Ory LLC

                                                    Salim-Beasley LLC

                                                    Gainsburgh Benjamin David Meunier & Warshauer LLC

                                                    Sherman-Denenea LLC
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                         Participant                                          Counsel / Advisors

                                                        Lamothe Law Firm LLC

                                                        Aylstock Witkin Kreis & Overholtz PLLC

                                                        Delacroix & Delacroix LLC

                                                        Huber Tomas & Marcelle LP

                                                        Sher Garner Cahill Richter Klein & Hilbert LLC

                                                        N. Frank Elliot III, LLC

                                                        Townsend Law, LLC

     15. Individual Survivors                           --- 1

     16. Unknown Tort Claims Representative             Michal R. Hogan

     17. Hon. Gregg W. Zive                             Court-Appointed Mediator

     18. John W. Perry, Jr.                             Court-Appointed Mediator




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      In order to avoid disclosing any potentially identifying information, counsel for the individual Survivors that the
      Expert and his advisors met with in-person is not identified herein.
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